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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION


   W.B., a minor child by and through
   his father and legal guardian, David
   B., and A.W., a minor child by and
   through her mother and legal
   guardian, Brittany C., on behalf of
   themselves and all others similarly
   situated,

               Plaintiffs,

   v.                                          Case No. 3:21-cv-771-MMH-PDB

   JASON WEIDA, in his official
   capacity as Interim Secretary for the
   Florida Agency for Health Care
   Administration,

                    Defendant.
   _________________________________

                                     ORDER

         THIS CAUSE is before the Court on the Joint Motion to Stay Proceedings

   (Dkt. No. 76; Motion) filed on January 19, 2023. In the Motion, the parties

   request that this case be stayed for 90 days while the Florida Agency for Health

   Care Administration engages in rulemaking that affects this case and so that

   the parties may conduct a mediation in this matter. See generally Motion.

   After due consideration, it is

         ORDERED:
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         1.     The Joint Motion to Stay Proceedings (Dkt. No. 76) is GRANTED.

         2.     This case is STAYED until April 20, 2023.

         3.     The Clerk of the Court is directed to administratively close the case

                until further Order of the Court.

         4.     While the case is stayed, the parties are ordered to participate in a

                mediation and must promptly advise the Court of the outcome of

                the mediation.

         5.     No later than April 20, 2023, the parties shall file a joint notice

                advising the Court of how they intend to proceed.

         DONE AND ORDERED in Jacksonville, Florida this 20th day of

   January, 2023.




   ja

   Copies to:

   Counsel of Record




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